929 F.2d 700
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Ronnie COOPER, Plaintiff-Appellant,v.Gerald MOEGGENBORG;  Walter J. Downes;  Gary Gabry,Defendants-Appellees.
    No. 91-1034.
    United States Court of Appeals, Sixth Circuit.
    April 8, 1991.
    
      W.D.Mich., 89-00573, R.H. Bell, J.
      W.D.Mich.
      APPEAL DISMISSED.
      Before BOYCE F. MARTIN, Jr. and RALPH B. GUY, Jr., Circuit Judges;  and JOHN W. PECK, Senior Circuit Judge.
    
    ORDER
    
      1
      This court entered an order on February 8, 1991, directing the appellant to show cause within twenty-one days why the appeal should not be dismissed for lack of jurisdiction because of a late notice of appeal.  Appellant has failed to respond, but has filed a motion for counsel.
    
    
      2
      It appears from the record that the judgment was entered September 17, 1990.  The notice of appeal filed on November 29, 1990, was 43 days late.  Fed.R.App.P. 4(a) and 26(a).
    
    
      3
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Fed.R.App.P. 4(a) is a mandatory and jurisdictional prerequisite which this court can neither waive nor extend.    Baker v. Raulie, 879 F.2d 1396, 1398 (6th Cir.1989) (per curiam);  McMillan v. Barksdale, 823 F.2d 981, 982 (6th Cir.1987);  Myers v. Ace Hardware, Inc., 777 F.2d 1099, 1102 (6th Cir.1985);  Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016, 1018 (6th Cir.1983).  Fed.R.App.P. 26(b) specifically provides that this court cannot enlarge the time for filing a notice of appeal.
    
    
      4
      Accordingly, it is ORDERED that the appeal be, and it hereby is, dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.  The motion for counsel is denied.
    
    